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                                                                        UNITED STATES DISTRICT COURT
                                   1
                                                                   NORTHERN DISTRICT OF CALIFORNIA
                                   2
                                            IN RE: SOCIAL MEDIA ADOLESCENT                  Case No. 22-md-3047-YGR
                                   3
                                            ADDICTION/PERSONAL INJURY
                                   4        PRODUCTS LIABILITY LITIGATION                   MDL No. 3047

                                   5                                                        CASE MANAGEMENT ORDER NO. 12
                                            This Document Relates to:                       Upcoming Case Management Conferences:
                                   6
                                            All Actions                                     April 19, 2024 at 9:30 a.m.
                                   7                                                        May 9, 2024 at 10:30 a.m.
                                                                                            June 21, 2024 at 2:00 p.m.
                                   8                                                        July 19, 2024 at 9:30 a.m.
                                   9   TO ALL PARTIES AND COUNSEL OF RECORD:
                                  10            The Court held a further case management conference in the above-captioned matter on
                                  11   March 22, 2024. This order memorializes and expands upon the deadlines set and findings made
                                  12   by the Court during that conference.
Northern District of California
 United States District Court




                                  13   I.       STATE ATTORNEYS GENERAL CLAIMS: RIGHT TO JURY TRIAL
                                  14            Previously, the Court ordered the parties to meet and confer as to their understanding of
                                  15   the Seventh Amendment right to a jury trial under Tull v. United States, 481 U.S. 412 (1987) and
                                  16   its applicability to the state attorneys general (the “State AGs”) claims. (See Dkt. No. 646, Case
                                  17   Management Order No. 11 at 4–5.) After conferring, Meta and the State AGs notified the Court
                                  18   they agree “that Tull and its progeny cases control the question of whether either party is entitled
                                  19   to a jury trial in this federal action.” (Dkt. No. 687, Agenda and Joint Statement for March 22,
                                  20   2024 Case Management Conference at 4.)
                                  21            The State AGs at the Case Management Conference indicated they believe that whether
                                  22   Tull applies to the consumer protection claims of the 35 states is a question of first impression.
                                  23   Further, on November 29, 2023, the Supreme Court heard argument on Jarkesy v. SEC, 34 F.4th
                                  24   446 (5th Cir. 2022), cert. granted, 143 S. Ct. 2688 (2023) (No. 22-859), which the parties contend
                                  25   bears on the applicability of the Seventh Amendment to the State AGs’ claims, and request that
                                  26   the Court wait for the Supreme Court’s ruling on Jarkesy prior to further briefing in this action.
                                  27   The Court agrees and WITHDRAWS its order that the parties create a chart identifying jury trial
                                  28   entitlement (or lack thereof) for each claim of relief and HOLDS IN ABEYANCE the issue of the
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                                   1   Seventh Amendment’s applicability to the State AGs consumer protection claims. 1

                                   2   II.       DEFENDANT FACT SHEET DATA

                                   3             Plaintiffs request that the Court prohibit, for the purposes of proposing cases for bellwether

                                   4   selection, defendants from considering certain information that will be provided in the Defendant

                                   5   Fact Sheets (“DFS”) to which plaintiffs do not yet have access. (Dkt. No. 687 at 4–6.) Plaintiffs’

                                   6   request is DENIED. As the Court explained, at this early stage both plaintiffs and defendants each

                                   7   have unique information in their possession. Defendants may have account usage data that

                                   8   plaintiffs lack. However, counsel for plaintiffs have, for example, a sense of each plaintiff’s

                                   9   ability to withstand cross-examination and their perceived credibility on the stand, key information

                                  10   which the defendants lack. Defendants also emphasize that plaintiffs agreed to the current

                                  11   expedited bellwether selection and discovery process. Asymmetric information is not surprising at

                                  12   this stage and, given comparable deficits between the parties, does not appear fundamentally
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                                  13   unfair.

                                  14   III.      BELLWETHER ELIGIBILITY CRITERIA

                                  15             The parties request two changes to the bellwether eligibility criteria, which the Court

                                  16   modified previously in Case Management Order No. 11. (See Dkt. No. 646 at 4.) First, the parties

                                  17   request, and the Court agrees, to add “suicidality (or suicidal ideation)” to the criteria’s definition

                                  18   of self-harm. (Dkt. No. 687 at 6–7.) Second, Meta requests that the eligibility criteria be modified

                                  19   to remove the requirement that Meta be named as a defendant. The Court grants Meta’s request

                                  20   but emphasizes again that if defendants propose a non-Meta case for bellwether selection where

                                  21   roughly 95% of cases name Meta as a defendant, defendants must present a highly compelling

                                  22   argument to why that case would be productive to facilitating resolution of this multi-district

                                  23   litigation (“MDL”). These bellwether eligibility criteria are a useful framing device for teeing-up

                                  24   bellwether selection proposals but do not dictate selection outcomes.

                                  25             Consistent with the above, the selection criteria are MODIFIED to the following:

                                  26

                                  27             1
                                               As such, the State AGs motion seeking an extension to submit the jury entitlement chart
                                  28   is DENIED as moot. (Dkt. No. 684.)

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                                                     Any Personal Injury Plaintiff who 1) alleges a) an eating disorder
                                   1                 (anorexia, bulimia, or binge eating disorder), b) body dysmorphia,
                                                     c) sleeping disorder(s), and/or d) self-harm (self-harm, suicidality (or
                                   2                 suicidal ideation), suicide attempt(s), or suicide); and 2) whose case
                                                     was filed in or transferred to this Court and who has submitted a
                                   3                 Plaintiff Fact Sheet (PFS) by the deadline for already-filed cases
                                                     under the Personal Injury PFS Implementation Order will be included
                                   4                 in the Personal Injury Plaintiff Bellwether Selection Pool.
                                   5                 Any School District Plaintiff, excluding those alleging RICO claims,
                                                     whose case was filed in or transferred to this Court and who has
                                   6                 submitted a School District Plaintiff Fact Sheet by the deadline for
                                                     already-filed cases under the Personal Injury PFS Implementation
                                   7                 Order will be included in the School District Plaintiff Bellwether
                                                     Selection Pool.
                                   8
                                       IV.    LEXECON OBJECTIONS
                                   9
                                              The parties ask that the Court clarify what happens for bellwether selection in the event
                                  10
                                       that a Lexecon objection is sustained. The Court ADOPTS the parties’ suggested process, as
                                  11
                                       follows:
                                  12                 Any Plaintiff selected by the Parties by April 15th for the Bellwether
Northern District of California




                                                     Discovery Pools who wishes to assert a Lexecon objection to their
 United States District Court




                                  13                 case being tried by the Court must file an objection in writing by April
                                                     25. If the Court selects additional Plaintiffs for the Bellwether
                                  14                 Discovery Pools, any Plaintiff so selected who wishes to assert a
                                                     Lexecon objection to their case being tried by the Court must file an
                                  15                 objection in writing seven (7) days after being selected by the Court.
                                                     If no objection is filed by the relevant deadline, a Plaintiff will be
                                  16                 deemed to have waived any rights under Lexecon and to have agreed
                                                     to have their case tried by this Court. Likewise, Defendants must file
                                  17                 any Lexecon objection(s) in writing with the Court by the same
                                                     deadlines, respectively, or be deemed to have waived any rights.
                                  18
                                                     If an objection is asserted and counsel dispute that the objecting party
                                  19                 has a right to assert an objection under Lexecon, the Parties will
                                                     immediately present the issue to the Court for resolution. If the
                                  20                 Parties do not dispute the objection or if the Court sustains the
                                                     Lexecon objection, then the claim will be deemed removed from the
                                  21                 respective Bellwether Discovery Pool. In that event, if the Plaintiff
                                                     was a pick by one of the two sides, the side that made the pick will
                                  22                 have three (3) business days to select a replacement case of the same
                                                     type as the case in which the objection was served (i.e., personal
                                  23                 injury case or school district/governmental entity case); if the Plaintiff
                                                     was selected by the Court, the Court will select another case of the
                                  24                 same type as the case in which the objection was served (i.e., PI or
                                                     SD/LG case). Lexecon objections other than those for claims selected
                                  25                 for trial in this Court under the bellwether protocol are preserved.
                                                     Thus, if a claim in the respective Bellwether Discovery Pool is not
                                  26                 selected for trial, then the Court will restore the rights of the Plaintiff
                                                     and Defendants in that claim to object to venue and jurisdiction in the
                                  27                 Northern District of California for purposes of trial.
                                  28
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                                   1   V.     MULTI-PLAINTIFF TRANSFERRED SCHOOL DISTRICT CASES

                                   2          The Court queried the parties on whether transferred school district cases need to file

                                   3   individual Short-Form Complaints (“SFCs”) as required by the Direct Filing Order (Dkt. No. 119,

                                   4   Case Management Order No. 4), which does not apply to transferred cases. The parties agreed

                                   5   that transferred plaintiffs must each file an SFC.

                                   6   VI.    MONTANA V. META PLATFORMS, INC., ET AL.
                                   7          On February 9, 2024, the Judicial Panel on Multidistrict Litigation transferred the state of

                                   8   Montana’s action against defendants into this MDL. (Dkt. No. 605) 2 The current motion to

                                   9   dismiss briefing on the multistate State AGs complaint does not encompass Montana’s claims.

                                  10   Counsel for Montana attested that Montana’s complaint will likely present unique legal issues that

                                  11   require treatment separate from the multistate State AGs complaint (e.g., alleged

                                  12   misrepresentations about the availability of mature content on Instagram). In similar situations,
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                                  13   the Court has issued an Order to Show Cause why the Court’s future order on the motion to

                                  14   dismiss the multistate AGs complaint should not apply to Montana’s claims. For now, the parties

                                  15   agreed that the most prudent course is to wait for the Court’s ruling on the motion to dismiss the

                                  16   multistate State AGs complaint, at which point the parties will be better able to assess appropriate

                                  17   next steps.

                                  18   VII.   ADMINISTRATIVE MOTIONS

                                  19          The State Attorneys General filed a motion for leave to file annotated copies of the state-

                                  20   law appendices included in defendant Meta’s Reply in Support of its Motion to Dismiss the State

                                  21   Attorneys General Complaint. (Dkt. No. 701.) The motion is GRANTED.

                                  22          The parties stipulated to re-filing the Master Complaint (Local Government and School

                                  23   District) to correct a typographical “misnomer” of one defendant’s name (i.e., substituting

                                  24   “TikTok Pte. Ltd.” for “TikTok Ltd.”). (Dkt. No. 678.) The stipulation and proposed order is

                                  25   GRANTED.

                                  26

                                  27          2
                                               See Montana v. Meta Platforms, Inc., No. 23-cv-00145 (D. Mont.); Montana v. Meta
                                  28   Platforms, Inc., No. 24-cv-00805 (N.D. Cal.).

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                                   1          The parties filed a stipulated proposed implementation order governing the School District

                                   2   Plaintiff Fact Sheet (“PFS”) and School District PFS – Supplemental. (Dkt. No. 675.) Pursuant to

                                   3   questions from the Court and corresponding revisions, the parties re-filed the stipulated proposed

                                   4   implementation order and PFS (Dkt. No. 709), which inadvertently failed to enclose the

                                   5   Supplemental PFS. The parties, as requested and the Court granted, refiled the proposed

                                   6   stipulated implementation order (Dkt. No. 715), which is GRANTED. Docket Nos. 675 and 709 are

                                   7   TERMINATED as moot and superseded.

                                   8          The parties filed a joint stipulation regarding joint filings which requires that joint filings

                                   9   be submitted to the Court no later than 4:00 p.m. Pacific Time. (Dkt. No. 687-2.) The stipulation

                                  10   is GRANTED.

                                  11   VIII. SCHEDULING UPDATES

                                  12          On Friday, May 10, 2024, there is a Case Management Conference scheduled for 9:30 a.m.
Northern District of California
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                                  13   and a Discovery Management Conference scheduled for 2:00 p.m. The Court ADVANCES the Case

                                  14   Management Conference to Thursday, May 9, 2024, at 10:30 a.m. Further, given the Court’s trial

                                  15   schedule, the conference on June 21, 2024 is hereby SET for 2:00 p.m.

                                  16          The Court further SETS arguments for hearing in the upcoming Case Management

                                  17   Conferences, as discussed:

                                  18              •   April 19, 2024, Case Management Conference:

                                  19                      o Meta’s motion to dismiss the multistate State AGs complaint, the Florida

                                  20                          AG’s complaint, and the personal injury consumer protection and

                                  21                          misrepresentation claims (Track 1, Dkt. No. 517);

                                  22                      o The selection of bellwether discovery pools, pursuant to Case Management

                                  23                          Order No. 10 (Dkt. No. 604); and

                                  24                      o The motion to remand in Youngers v. Meta Platforms, Inc., No. 22-md-

                                  25                          03047 (N.D. Cal. Feb. 15, 2024) (Dkt. No. 64).

                                  26              •   May 9, 2024, Case Management Conference:

                                  27                      o Defendants’ joint motion to dismiss the school district and local

                                  28                          government entities master complaint (Track 3, Dkt. No. 601).
                                                                                          5
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                                   1              •   June 21, 2024, Case Management Conference:

                                   2                     o Defendants’ joint motion to dismiss plaintiff’ non-priority claims (Counts 5,

                                   3                         12, 14, 16–18) (Track 2, Dkt. No. 516); and

                                   4                     o Snap Inc.’s motion to dismiss Counts 12 and 14 asserted in plaintiffs D.H.,

                                   5                         K.S., and Alice Doe’s amended SFCs (Dkt. No. 533).

                                   6   Should the Court be prepared to hear argument on the motion to dismiss the school district and

                                   7   local government entity master complaint at the April 19, 2024, case management conference, it

                                   8   will advise the parties by April 12, 2024. Otherwise, the Court SETS argument on that motion to

                                   9   dismiss for May 9, 2024.

                                  10          This terminates Dkt. Nos. 675, 678, 684, 701, 709, and 715.

                                  11          IT IS SO ORDERED.

                                  12   Dated: March 27, 2024
Northern District of California
 United States District Court




                                  13                                                  ______________________________________
                                                                                              YVONNE GONZALEZ ROGERS
                                  14                                                         UNITED STATES DISTRICT JUDGE
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